Case 6:12-cr-00005-JRH-CLR Document 259 Filed 09/20/16 Page 1 of 2



            IN THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF GEORGIA
                          STATESBORO DIVISION




UNITED STATES OF AMERICA                  *


       V.                                 *             CR   612-005-03


GARY   LENION MCDONALD                    *




                                    ORDER




       On July 26, 2 012, Defendant Gary Lenion McDonald pleaded

guilty to conspiracy to kidnap in violation of 18 U.S.C.                          §

1201(c).     He was sentenced to serve 240 months imprisonment.

       Presently,     Defendant has           filed a motion to reduce his

sentence under 18 U.S.C.            § 3582(c)(2)       based upon the United

States Sentencing Commission's                 "Newly Amended      [U.S.S.G.     §]

3B1.1."       (Doc.    2 57,   at       1.)      Presumably,     Defendant       is

referencing Amendment          794 to the United States Sentencing

Guidelines,      which     sets         out     new    guidelines       for    the

determination     of   whether      a    defendant      should   be    granted    a

mitigating role reduction under U.S.S.G. § 3B1.2.

       Section 3582(c) (2)      allows a court to modify an imposed

term of imprisonment if a defendant's sentencing range has

been    subsequently     lowered         by    the    Sentencing      Commission.

However,     this provision is only triggered by an amendment

listed in U.S.S.G. § 1B1.10(d).                ("In determining whether, and
Case 6:12-cr-00005-JRH-CLR Document 259 Filed 09/20/16 Page 2 of 2



to   what   extent,          a    reduction      in   the   defendant's    term    of

imprisonment under 18 U.S.C. § 3582(c) (2)                    ... is warranted,

. . . the court shall substitute only the amendments listed in

subsection       (d)     . . .         and shall leave all other guideline

application            decisions           unaffected"      (emphasis     added).).

Amendment       7 94    is       not   a    listed    amendment    in   U.S.S.G.    §

1B1.10(d).1       Consequently,             even assuming Defendant's conduct

would otherwise           qualify him for a              "minor role"   reduction,

Amendment 794          is not available to him retroactively in the

post-conviction context.

        Upon the foregoing, Defendant's motion to reduce sentence

(doc.    257)   is DENIED.

        ORDER ENTERED at Augusta, Georgia, this t^D^                           day of
September,      2016.




                                                                        HALL
                                                                  DISTRICT JUDGE
                                                            DISTRICT OF GEORGIA




     1    Indeed, the Sentencing Commission stated that
Amendment 794 is intended only as a clarifying amendment.
U.S.S.G. App. C, Amend. 794 (Reason for Amend.) ("This
amendment provides additional guidance to sentencing courts in
determining whether a mitigating role adjustment applies.").
